Case 1:23-mi-99999-UNA Document 85-2 Filed 01/10/23 Page 1 of 5




           EXHIBIT B
                  EEOC Charge
/                                    Case 1:23-mi-99999-UNA Document 85-2 Filed 01/10/23 Page 2 of 5

    EEOC
       Form5 (11/09)

                                                                                                                      ChargePresentedTo:                    Agency(ies)ChargeNo(s):
                             CHARGEOF DISCRIMINATION
        This form is affected by the Privacy Act of 1974. See enclosed Privacy Act
              Statement and other information before completing this form.
                                                                                                                           □ FEPA 410-2022-07827
                                                                                                                           ~ EEOC
                                                                                                                                                                                                  and EEOC
                                                                                       Stateor local Agency,If any

    Name (lnd;cateMr., Ms., Mrs.)                                                                                                                    HomePhone(Incl.AreaCode)                Date of Birth

    Ms. Jada Taylor
    Street Address                                                                     City,StateandZIPCode
                                                                                                                                                 I                   6756        I        -1995

    ~anor                   Court SW Atlanta, Georgia 30331
    Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe Discriminated Against
    Me or Others . (If more thon two are named, list under PARTICULARS
                                                                     below.)

    Name                                                                                                                                              No. Employees, Members           PhoneNo. (Ind. AreaCode)
    Athena Health
    Street Address                                                                     City,StateandZIPCode
                                                                                                                                                 I             200               I      {207) 323-7935

    3 Hatley Road Belfast, Maine 04915

               US EEOC ATDO RECEIVED 07-22-2022
    Name                                                                                                                                              No.Employees
                                                                                                                                                                , Members              PhoneNo.(Ind. AreaCode)


    Street Address                                                                     City,StateandZIPCode
                                                                                                                                                 I                               I
    DISCRIMINATION
               BASED
                   ON(Checkappropriatebox(es).)                                                                                                                    DATE(S)
                                                                                                                                                                        DISCRIMINATION
                                                                                                                                                                                   TOOKPLACE
                                                                                                                                                                          Earliest
       □
                                                                                                                                                                                           Latest
              RACE
                                     □    COLOR
                                                               □     SEX                  □ RELIGION                                 □ NATIONAL ORIGIN
                                                                                                                                                                       01/25/2022                 6/03/2022
            XJ       RETALIATION
                                                     □     AGE
                                                                            ~ DISABILITY                                   □         GENETICINFORMATION

                     □ OTHER (Specify)                                                                                                                                  ~ CONTINUING ACTION
               ARE(If additional paper isneeded, attach extra sheet(s)):
    THEPARTICULARS
    I. I was hired by Athena Health on January 12, 2021, as a Complex Issue Resolution Analyst. In or about October 2021, I was diagnosed
    with generalized anxiety disorder and depression . At my therapist Aloha McGregor's direction, I requested medical accommodations,
    specifically that: {a) I would be allowed longer break periods during the day; {b) could start the workday later or end it earlier, as needed
    due to the effects of my anxiety and depression on my life and for medical appointments for my treatment; and (c) could schedule days
    off as necessary. In addition, I requested and was given intermittent FMLA medical leave related to my generalized anxiety disorder and/
    or depression symptoms. Athena Health approved my intermittent FMLA medical leave reque~t on or about January 25, 2022.1 took
    intermittent FMLA leave to related to my anxiety and depression symptoms during the period:January 2022 through the end of May
    2022.

    II. In early May 2022, I was diagnosed with an unrelated medical condition and needed surgery on or about May 31, 2022. Upon my return
    to work on June 3, 2022, Athena Health monitored my performance and stated I did not meet performance criteria and terminated me. I
    believe I was terminated as I took FMLA leave, and/or was disabled, or perceived as disabled.

    Ill. I believe that I was discriminated against based upon an actual and/or perceived disability, and for engaging in protected activity, in
    violation of the Americans with Disabilities Act.




                                                                                                                                     .
                                                                                                                NOTARY- Whennecessaryfor Stateor LocalAgencyRequirements
    I want th is chargefiled with both the EEOCand the State or local Agency,if any. I will advisethe
    agencies if I change my addressor phone number and I will cooperate fully with them in the
    processing of my charge in accordancewith their procedures.
                                                                                                                I swearor affirm that I have read the above charge and that it is true to the best of my
                                                                                                                knowledge, information and belief.
    I declare under penalty of perjury that the above is true and correct.
                                                                                                                SIGNATURE
                                                                                                                       OFCOMPLAINANT




       t /Lb         i.t~           2-2     lL1IVL
                                            u                ChargingParty Signature
                                                                                                                SUBSCRIBED
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                                                                                                                              TOBEFORE
                                                                                                                (month, day, year)
                                                                                                                                    METHISDATE
                              Case 1:23-mi-99999-UNA Document 85-2 Filed 01/10/23 Page 3 of 5

 EEOCFormS (11/09)

                                                                                                              Charge PresentedTo:                   Agency(ies)Charge No(s):
                     CHARGEOF DISCRIMINATION
    This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                                    0 FEPA
          Statement and other information before completing this form.
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             ARE(If additional paper is needed,attach extra sheer(s}
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 agencies if I change my address or phone number and I will cooperate fully with them in the
 processing of my charge in accordance with their procedures .
f----------------------------------..;                                                                  I swear or affirm that I have read the above charge and that it is true to the best of my
                                                                                                        knowledge, information and belief .
 I declare under penalty of perjury that the above is true and correct.
                                                                                                        SIGNATURE
                                                                                                                OFCOMPLAINANT




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                                        u                (/Charging PartySignature
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                                 Case 1:23-mi-99999-UNA Document 85-2 Filed 01/10/23 Page 4 of 5
EEOCForm S(11109)
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                                                                  Act
                                                            Privacy
                                     Actof 1974 . Seeenclosed
      Thi5 formisaffectedbythe Privacy                                                                             □ FEPA
                    andotherInformation beforecompletingthis form.
             Statement                                                                                             (8) EEOC               410-2022-08700
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Ms. Jada Taylor
Suttt Address                                                                    Or,. S•• te and ZIPCodt
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           Manor Court SW Atlanta, Georgia 30331                                                     EEOC RECEIVED 2022-08-09
NamedIstheEmployer     , LaborOrganization, Employment                                                            AgencyThatI BelieveDiscriminatedAgainst
                                                                                       , or State or LocalGovernment
                                                         Agency, ApprenticeshipCommittee
           .
Me or Others (If more than two are named, I/st under           below.)
                                                     PARTICULARS
                                                                                                                                                   No. EmployeM, Members                  Phono No. Ond.Are;i Codtl
N3m~

Athe na Health                                                                                                                                I              200                    I      (207} 323-7935
Sufft Address                                                                    Gr, SI.lit n ZJPCodt

3 Hatley Road Belfast, Maine 049 15
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Name

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      (8) RACE
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             (8) RETAL
                    IATION                                                       .
                   □ OTHER(Specify)                                                                                                                                        (8) CONTINUING
                                                                                                                                                                                       ACTION

        UURS ARE
THEPARTIC               ()I_,__,"          nffd,,j   •trod>amr Jh,rl<}J ·
                                                                                                                                 Individuals for this
    I. I was hired by Athena Health on January 12, 2021, as a Comp lex Issue Resolution Analyst. Athena Health hired six
                                                                     an African-Amer    i can, were  Persons   of Color and the remaining   four
    role in or about January 2021, of which two , inclu ding myself,
                                                    subsequent  gro  ups of  hiri ng also  inclu ded signifi cantly less Persons of Color than
    employees were Caucasian. In addi tion, other,
    Caucasians among the new emp loyees.

                                                                                                                                           empl oyees
    II. During the following year-and-a-half neith er myself or the other Person of Color were promoted, while the four Caucasian
                                                                                                              more,    I was  not informe   d of certai n
    were promoted at least t wo (2) positions above tho se of myself and the other Person of Color!Further
                                                                                            participated  in th is in-house-train  i ng and  received
    in-house-training , necessary for promotion , whereas th e other Caucasian emplo yees
                                                                                                ive and informed     her  I had some   issues  and
    promot ions. In May 2022 1contacted Athena Health's Diversity and Inclusion representat
                                                                               Athena  Health . App roximately    two  (2)  weeks  later I was
    comp laints about race-based traini ng, promot ions, and opportunities at
    terminated.

                                                                                                                                 promotio n
    Ill. I believe that I, and that class of present and former emp loyees who did not receive opportunities for training and/or
    despite working a similar      position, were discriminated against based upon ou r race in violation ofTitle VII.




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                                                                                                           knowledge,
    I declare underpenalty of perjurythattheaboveis trueandcorrect.                                        SIGNATUREOF COMPLAINANT




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                                Case 1:23-mi-99999-UNA Document 85-2 Filed 01/10/23 Page 5 of 5
EEOC Fo.m S (11/09)

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THE PARTICULARSARE (ff addirionalpaper is needed, attach extra sheer(s))
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I want this charge filed with both the EEOCand the State or local Agency , if any. I will adv ise the
agenci es if I change my addre ss or phone numb er and I will cooperate f ully w ith them in the
processing of my chairgein c1 ccordancewith their procedures.
                                                                                                         I swear or affirm t hat I have read t he above charge and that it is t rue to the best of my
1--------------                               --- ---              ----------                ----1 knowledge , Informat ion and belief.
I declare under penalty of perjury t hat the above is true and correct.                                 SIGNATUREOF COMPLAINANT




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                                                                                                                       TO BEFORE
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